 Case 5:19-cv-00863-JGB-SP Document 188 Filed 10/28/21 Page 1 of 1 Page ID #:2677


 1 Maria A. Aarvig (SBN 146671)
     maarvig@aarviglaw.com
 2 Michael Reiter (SBN 197768)
     mreiter@aarviglaw.com
 3 AARVIG & ASSOCIATES, APC

 4
   P.O. Box 8728                                                        JS-6
   Redlands, California 92375
 5 Telephone: (909) 307-0026
   Facsimile: (909) 307-0255
 6 Attorneys for Defendants, RIALTO UNIFIED SCHOOL DISTRICT,
   TODD HARRIS and, CAROLINE SWEENEY.
 7

 8                         UNITED STATES DISTRICT COURT
 9          CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
10
       JANE ROE,                                  CASE NO: 5:19-cv-863-JGB (SP)
11

12                 Plaintiff,
                                                  JUDGMENT
13                 v.
14
       RIALTO UNIFIED SCHOOL DISTRICTet
15     al.,
                 Defendants.
16

17

18

19        The above-captioned case was tried by a jury with the Honorable Judge Jesus
20   G. Bernal presiding, and the jury rendered a verdict on September 30, 2021. The
21   verdict is that the plaintiff recovers nothing. Defendants RIALTO UNIFIED
22   SCHOOL DISTRICT, TODD HARRIS, and CAROLINE SWEENEY are the
23   prevailing parties and may recover costs. Judgment is hereby pronounced for
24   defendants RIALTO UNIFIED SCHOOL DISTRICT, TODD HARRIS, and
25   CAROLINE SWEENEY against plaintiff Samiyah Dickerson.
26        IT IS SO ORDERED, ADJUDGED, AND DECREED.
27   Dated: October 28, 2021               _________________________________
                                           JESUS G. BERNAL, DISTRICT JUDGE
28
                                           UNITED STATES DISTRICT COURT

                                             1
                                         JUDGMENT
